                                                                                              12/4/2018


                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

 UNITED STATES OF AMERICA,                       )
                                                 )
 v.                                              )       Case No. 3:18cr00025-1
                                                 )
 BENJAMIN DRAKE DALEY,                           )       ORDER OF DETENTION
      Defendant.                                 )

        On December 3, 2018, the Defendant came before the Court for a hearing on his Motion

 for Bond, ECF No. 53, after the Government previously moved for detention. The Court shall

 hold a detention hearing upon its own motion or motion of the Government when the case

 involves a serious risk that the defendant will not appear for future court proceedings. See 18

 U.S.C. § 3142(f)(2). At the detention hearing, the Court shall consider the factors in 18 U.S.C §

 3142(g) to determine whether any condition or combination of conditions of release will

 reasonably assure the appearance of the defendant as required and the safety of any other person

 and the community. The Government bears the burden of showing the Defendant should be

 detained pending trial.

        Based on the evidence presented at the hearing and in the Court record, including but not

 limited to the following, the Court finds by clear and convincing evidence that no conditions will

 reasonably assure the safety of another person or the community if the Defendant is released at

 this time:

              •   The Defendant co-founded the “Rise Above Movement” (“RAM”). The group

                  exists in part to train its members to commit violence against individuals on the

                  basis of those individuals’ sex, gender, race, religion, and/or political beliefs.




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            •   While on probation in March and April 2017, the Defendant traveled with other

                members of RAM to two political rallies in California where he and other

                members of RAM engaged in acts of violence.

            •   In August 2017, the Defendant flew from California to Virginia to attend the

                “Unite the Right” rally in Charlottesville. He prepared for violence, for example

                by taping his hands, and he committed acts of violence against a number of

                individuals on August 11 and 12.

            •   Before and after the rallies in California and Virginia, the Defendant attempted to

                and did encourage and recruit others through RAM to engage in acts of violence.

 It is therefore ORDERED that the Defendant’s motion, ECF No. 53, is DENIED, and that the

 Defendant be detained pending further proceedings in this case.

                                 Directions Regarding Detention

        The Defendant is committed to the custody of the Attorney General or his designated

 representative for confinement in a corrections facility separate, to the extent practicable, from

 persons awaiting or serving sentences or being held in custody pending appeal. The Defendant

 shall be afforded a reasonable opportunity for private consultation with defense counsel. On

 order of a court of the United States or on request of an attorney for the Government, the person

 in charge of the corrections facility shall deliver the Defendant to the United States Marshal for

 the purpose of an appearance in connection with a court proceeding.

                                                       ENTERED: December 3, 2018



                                                       Joel C. Hoppe
                                                       United States Magistrate Judge




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